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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA



                                                )
KELLY J. VAY                                    )     `
                                                )     Civil Action No._______________
               PLAINTIFF,                       )
       vs.                                      )
                                                )
                                                )
ROBERT HUSTON, Administrator,                   )
Laboratory Director of the Office of the        )
Medical Examiner of Allegheny County, in        )
his individual capacity; STEPHEN                )
PILARSKI, former Administrator of the           )
                                                )
Office of the Medical Examiner of               )
Allegheny County and currently Deputy           )
Manager of Allegheny County, in his             )
individual capacity, MICHAEL BAKER,             )
former Manager of Morgue Operations, in               Jury Trial Demanded
his individual capacity; and MICHAEL
CHICHWAK, Manager of Investigations, in               Filed Electronically
his individual capacity.

              DEFENDANTS

                                           COMPLAINT
                                      Introduction & Summary
        “.. the real social impact of workplace behavior often depends upon the constellation of
surrounding circumstances, expectations, and relationships which are not fully captured by a
single recitation of the words used or the physical acts performed”. Oncale v. Sundowner Offshore
Services, Inc. 523 U.S. 75 (1998).
        Sometimes, we look to the stories we tell of the emotional impact of the events and
circumstances of life to convey the full, experienced truth more powerfully. The plaintiff in this
case had worked as an undercover police officer in a famous unit in Baltimore which became the
basis for a popular cable television program. Yet, despite surviving that experience without any
emotional injury, she was overcome with panic attacks when she learned that she might have to
return to work under the authority of these Defendants (after being illegally suspended for over four
weeks). Similarly, another female investigator would cry when she drove home from work. She

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was frightened when she realized that a gentle peaceful soul could have thoughts visualizing
physical harm befalling the misogynists. She left. These women are gone because one of the
Defendant’s accurately predicted during an orientation in 2009 that the “...men would act like
pigs..” and that the women would have to deal with it on their own. He failed to mention that the
biggest problem was with the men who were in charge, these Defendants.


                                              Jurisdiction
       1.       The jurisdiction of this court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3)
& (4) and the Fourteenth Amendment of the Constitution of the United States, and 42 U.S.C. §
1983. Venue lies within this district pursuant to 28 U.S.C § 1391.


                                               Parties
       2.       Plaintiff Kelly J. Vay is an individual residing in Allegheny County, Pennsylvania
and is employed as a forensic investigator in the Office of the Medical Examiner of Allegheny
Count, Pennsylvania..
       3.       Defendant Robert Huston       is an    individual employed as the Administrator,
Laboratory Director in the Office of the Medical Examiner of Allegheny County whose office is
at 1520 Penn Avenue, Pittsburgh, Pa 15219.


       4.       Defendant Michael Baker is an individual formerly employed as the Manager of
Morgue Operations at the Office of the Medical Examiner of Allegheny County, currently
employed in Indiana County.


       5.       Defendant Stephen Pilarski is an individual currently employed by Defendant
Allegheny County as Deputy County Manager who previously served as the chief Administrator
of the Office of the Medical Examiner of Allegheny County; Defendant Pilarski currently has
offices at the Allegheny County Courthouse, 436 Grant Street, Pittsburgh, Pa. 15219.


       6.       Defendant Michael Chichwak is an individual employed as the Manager of
Investigations in the Office of the Medical Examiner of Allegheny County with offices at 1520
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Penn Avenue, Pittsburgh, Pa 15222.

                                          Factual Background


          7.       The Defendants engaged in the conduct described herein while acting under color
of law.


          8.       Allegheny County hired Plaintiff Kelly Vay as a forensic investigator in the Office
of the Medical Examiner on or about March 15, 2009.


          9.       Plaintiff Kelly Vay has extensive experience in law enforcement prior to returning
to Allegheny County to raise her daughter.


          10.      A supervisor wrote in an email in March of 2012 just after Defendants Huston,
Pilarski and Chichwak suspended Plaintiff Vay that that Plaintiff Vay was one of the finest and
most thorough forensic investigators working for Allegheny County.


          11.      The supervisor also wrote in the email that Vay is a true asset to the office, and her
professionalism and work ethic speak for themselves.


          12.      In the email, the supervisor wrote that he was appalled at the continuous actions
taken against Plaintiff Vay by the Defendants when numerous documented emails he sent
concerning investigators as well as supervisors who continually fail to perform job functions result
in little or no discipline.


          13.      The supervisor sent the email to Defendants Pilarski, Huston, Chichwak and to the
Medical Examiner on March 14, 2012.


          14.      Plaintiff Kelly Vay has repeatedly suffered discrimination in the terms and
conditions of her employment because of gender, and has been subjected to a work environment

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hostile to and physically threatening or dangerous to women, and has suffered retaliation for
participating in investigations about and opposing gender-based discriminatory practices.
Furthermore, others who associated with her or defended her have also suffered retaliation.
Differences in treatment between men and women as to the terms and conditions of employment
existed when Plaintiff Vay was hired in 2009 and continue through the present; blatent, often
particularly crude, statements directly reflecting bias against women were common; statements
were also made directly reflecting retaliatory intent against Vay. This gender discrimination,
gender-based hostile work environment and the gender based retaliation is the result of the
purposeful, personal involvement and affirmative conduct of Defendant Robert Huston, the
current Administrator, Laboratory Director, Defendant Stephen Pilarski, the former administrator
and currently the Deputy County Manager whose authority extends to the Office of the Medical
Examiner as well as other Allegheny County departments, as well as Defendant Michael Baker, the
former Manager of Morgue Operations, and Defendant Michael Chickwak, the Manager of
Investigations.


       15.        In addition to their purposeful, personal individual participation and affirmative
conduct in the gender discrimination, gender-based hostile work environment and the gender-
based retaliation, Defendants Huston, Pilarski, Baker and Chichwak also acquiesced in the
unlawful gender based discriminatory and retaliatory conduct of others about whose illegal
conduct they had actual knowledge, and over whom they had actual supervisory authority.


       16.        Furthermore, Defendants Huston, Pilarski, Chichwak at various times since 2009,
together with with Defendant Baker beginning in 2013 met, consulted and schemed, as more fully
set forth at length herein, to deprive Plaintiff Kelly Vay and other female investigators and those
who might support them of          their rights to work in a non-discriminatory, non-retaliatory
environment.


       17.        To illustrate, shortly after Defendant Michael Baker was hired in 2013, he issued
discipline to Plaintiff Vay even though he had no first-hand experience working with her in such
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a short period of time; Defendant Baker could only have been carrying out the instructions of
Defendant Robert Houston.


       18.      Another illustration of the concerted activity by these Defendants manifested itself
at the a disciplinary meeting orchestrated against Plaintiff Kelly Vay on December 2, 2013;
Defendant Michael Baker alternatively exploded in rage trying, unsuccessfully, to provoke Plaintiff,
and would then leave the meeting room to meet with Defendant Robert Huston, who was waiting
in a separate room, before returning to the meeting . Plaintiff stated the obvious and asked, “Why
doesn’t he [Defendant Robert Huston] just come into the meeting and say what he has to say?”. But
there was no answer and nor an appearance by Defendant Huston.


                      Crude, Morally Repugnant Sexist Language Tolerated.


       19.     Plaintiff and other women requested a meeting as early as late 2010 with the
Human Resources Department of Allegheny County to investigate their concerns about gender
discrimination including sexist language      but a meeting was never scheduled;          they were
subsequently told that Defendant Stephen Pilarski was handling it. They never heard from him.


       20.     As an example of the crude, morally repugnant language to which women were
subjected, beginning in approximately mid- 2011, the shift on which Plaintiff Kelly Vay worked was
predominantly female and was referred to by male forensic investigators and others as the
“c_ _ t crew...”


       21.     Mr. Chichwak, the Manager of Investigations, responded to complaints of the
aforementioned sexist language in or about by saying, “Well, ... you are all females.”


       22.     Chichwak , tried to minimize the offensiveness by claiming that the “c_ _t crew”
language was “ ... all in good fun...”



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       23.     Most significantly, “C _ _ t crew” was a phrase commonly heard at the Office of
the Medical Examiner.


       24.     Robert Houston made it clear that he would not tolerate any demonstration by
women, Plaintiff Kelly Vay in particular, that women have brains and can think, and work as well
as men, exhibiting an attitude of decades ago that women belong in the kitchen, barefoot and
pregnant. For example, in late 2010 or early 2011, he said of the Plaintiff Kelly Vay, “... such a
pretty face coming at you, until she opens her mouth”. He later said, “She’s like Tony- with a
ponytail” - meaning, she expresses views as does the male employee but, Huston said, “It’s easier
coming from Tony.”


       25.     At a continuing education seminar in May 2011, Plaintiff Vay and another female
investigator as well as a male employee, decided to dress in appropriate business casual attire
because they were representing Allegheny County and its Office of Medical Examiner ; a male
investigator complained to management that he not be disciplined for his dress as compared to
those "two whores".


       26.     When Plaintiff Vay complained to Defendant Robert Huston that such comments
were inappropriate and offensive to women, Huston’s response was to ask Vay “...whether she
thought they looked like whores? which caused Plaintiff to leave his office in tears; Huston
showed no interest in reprimanding the male employee.


       27.     Vay was disciplined after complaining about male Allegheny County detectives who
were disrespectful to women forensic investigators and who made sexually suggestive remarks.


       28.     Defendant Michael Chickwak suspended another female investigator and Plaintiff
Kelly Vay for five (5) days for stopping to use the restroom facilities of a retail establishment, a
common practice among all forensic investigators of which Defendant Chichwak was well aware.
An obvious bias against women was demonstrated by Defendant Chichwak’s (or Defendant

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Pilarski’s) comment , that “... no way two girls go to Walmart without shopping.


                       Plaintiff Was Regularly Monitored & Disciplined
                      Despite Being One of the Best Forensic Investigators.



       29.      Plaintiff Kelly Vay, although one of the best forensic investigators working for
Allegheny County has been subjected to at least ten (10) disciplinary actions since her employment
began in 2009, including three 5-day suspensions and one 26 day suspension, all without pay.
Plaintiff was disciplined in a discriminatory manner as male investigators were not disciplined for
the same alleged infractions, or there was no justification for the disciplne Vay received. For the 26
day suspension issued on August 20, 2013, Plaintiff Kelly Vay allegedly slammed a door causing
a hole in a wall. The wall had already been damaged because the door had not been properly hung.
On the other hand, a male employee, freely admitted that he had punched a pencil through an
improperly functioning GPS in a County van, all of which was known to Defendants Huston, Pilarski
and Chichwak.


       30.      Said male employee was a top forensic investigator and in 2011 was first in “call
volume” (669 calls) and Plaintiff Kelly Vay was second with 655.


       31.      Said male employee also regularly told various of the Defendants when he was trying
to complete his work to “get the f _ _ _ away from me,” but was not disciplined whereas Plaintiff
Vay would be disciplined for such alleged conduct, or any de minimus infraction.


                       Women Investigators Resign Because of Gender Bias


       32.      As a result of the gender discrimination and work environment hostile to women
at least three (3) and possibly five (5) female forensic investigators have been constructively
discharged (“resigned”) their employment since 2009 to escape these unlawful practices.



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          33.    A female forensic investigator who was initially charged with Plaintiff at the
December 2, 2013 disciplinary hearing for allegedly failing to follow an order of a supervisor to
begin work before the shift started was so distressed and emotionally upset by the illegal hostile
work environment she had experienced, unlike anything in her previous professional experience in
Michigan, that she was shocked by her own reaction to the environment in which she found herself
when she began to imagine physical harm to those who were responsible for the working
environment to which women were subjected.


          34.   This female investigator’s work environment turned particularlly hostile when she
associated with Plaintiff Vay to oppose gender discrimination; she has resigned.


          35.   A few examples of disparate treatment concerning enforcement of certain policies
and procedures because of gender are: performing liver temps, filing out photo id cards, taking
proper scene photographs, proper scene documentation, refusal to bring in medications or particular
items of evidence, relying on newer investigators to submit blood and fluids, use of personal digital
devices, internet policy, follow ups, completion of SOP assignments, quality of work, overtime
policy.


          36.   Female forensic investigators are also treated differently with respect to sick time and
the conditions under which a doctor’s excuse is required; for example, in December 2013, a female
investigator was remanded for allegedly taking sick days immediately after her regular day off when
a male investigator had clearly done the same thing in the same month.


          37.   In approximately September 2011, a female investigate with an advanced degree in
forensics “resigned” after leaving a meeting with Defendant Robert Houston in tears. She submitted
her resignation that day, effective in two weeks, because of the hostile work environment against
women despite “... loving my job...” but doubting she could enjoy raising her child when her
workplace experience and that of other women had been altered.


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       38.     Since 2009, plaintiff and other women have been subjected to a hostile work
environment consisting, in part, of regularly being called into the office by the aforementioned
Defendants to be yelled at, reprimanded and humiliated for supposedly not doing their jobs properly,
even though the managers do not have comparable forensic investigator credentials or have never
done the job. On the other hand, a male employee, a union shop steward, who complained to them
to stop trying to change the way things were done had been caught sleeping on the job, but was not
disciplined.


                   Culture of Retaliation and Physical Threats Against Women


       39.     In November 2010, a male investigator taunted and physically threatened another
female investigator to “... bring it outside bitch...” while a male supervisor, who had just
disparaged the female investigators unit to that employee, witnessed the incident and did nothing.


       40.     The male employee then said in front of the supervisor, “I’ll beat your ass just like
a man.”


       41.       Fearful of their physical safety, Plaintiff and the other female investigator were
required to hide, and then called their supervisor for help.


       42.      Defendant Stephen Pilarski was informed of the threats.


       43.      Plaintiff and the other female investigator were instructed to go to the office of the
first-line supervisor on duty.


       44.     When they went to his office, the male supervisor slammed the door in their face.


       45.      Defendant Stephen Polanski did not order a time-off -work- suspension to the male
employee who had physically threatened the female investigator.


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       46.      Instead, Defendant Stephen Polanski issued a “paper only” suspension (meaning
there was no time off work - no lost pay) to the male employee and to the female investigator who
had been threatened.


       47.      Video was available to establish that the male employee made the threats but this
evidence was ignored.


       48.      Plaintiff Kelly Vay opposed this gender-based discrimination against the female
employee and told Defendant Stephen Polanski that the female should not be suspended in any sense
while the male employee should actually be suspended.


       49.      In or about March 2011, when Vay voiced opposition against gender based
difference in treatment to Defendant Stephen Pilarski, Pilarski erupted, got in Vay’s face, pointed
his finger at her so closely that he almost touched her, and threatened to hit her in the face.


       50.     Defendant Pilarski then suspended Vay for five (5) days.


                              Culture of Retaliation Against Women
                            And Also Against Men Who Support Them

       51.     In addition, this orchestrated campaign of gender discrimination and retaliation
against Plaintiff Kelly Vay has had a retaliatory “chilling effect” on similarly situated female
employees as well as male employee(s) of Allegheny County in the Office of the Medical Examiner
who have associated with, or defended Plaintiff Kelly Vay.


       52.     For example, Defendant(s) retaliated against a male employee who accompanied her
to a disciplinary meeting on December 2, 2013; the employee was disciplined within a week of
assisting Plaintiff Kelly Vay for being late 93 times since January 2013; said male employee had
only been informed of possible disciplinary action when Defendants discovered that he would attend
Vay’s disciplinary hearing as her representative.

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       53.     Even more striking, Plaintiff Kelly Vay was absolved of any wrong-doing at the
December 2, 2013 meeting but the meeting to discipline Vay proceeded on December 2, 2014
despite an email from the supervisor who initially complained about Vay and another female
investigator informing Defendant Baker (and Defendants Huston and Chichwak) that after
speaking with Vay and the other investigator he concluded that “... this was a terrible
misunderstanding between all parties.”


       54.     Within a week, the supervisor was suspended for two (2) days.


       55.     At the meeting on December 2, 2013, Defendant Baker was angry and appeared to
be trying to provoke Plaintiff Kelly Vay to commit an infraction for which she could be disciplined,
given that Defendants Baker and Huston’s attempt to discipline Vay was going nowhere.


       56.     Defendant Baker almost lunged across the table at Vay.


       57.     During the December 2, 2013 meeting, Baker would periodically leave to meet with
and report to Defendant Huston who was, seemingly, hiding out in another office.


       58.      Defendant Baker scurrying back and forth between offices to meet with Defendant
Houston was the most recent example of Defendants’ Houston and Baker consulting and planning
how to deprive Plaintiff Vay of her Constitutional rights.


                    “That Chick Will Not Set Foot In this Building Again.”


       59.     Plaintiff Kelly Vay remained on paid administrative leave after a hearing on
December 2, 2013 despite a decision in her favor. Defendants Huston, Pilarski, Baker and
Chichwak could no longer purse discipline against her for the alleged violations given the utter lack
of evidence of any wrong doing on her part. Nevertheless, Plaintiff Kelly Vay was not returned to
work. She fears for her eventual illegal and unwarranted discharge or demotion given that Robert

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Huston was heard to say, prior or just after the December 2, 2013 hearing, “That chick is not going
to step foot in this building again.”


        60.     Plaintiff is currently on medical leave under the care of her physician due to the
stress of the gender based hostile work environment.


        61.     The organizational culture at the Office of the Medical Examiner is reflected in the
often heard statement, that "It's worse if you are a girl and know what you are doing."


        62.     Relatedly, Defendant Pilarski, told Plaintiff Vay and another newly hired forensic
investigator when they were hired in April and May 2009 that “ the men will act like pigs” and that
they will have to learn to deal with it.


        63.     When a female investigator mentioned to Defendant Pilarski that male Allegheny
County detectives or City police officers stood by at any investigatory scene and would not help
move a very large deceased individual, Defendant Pilarski remarked that she must not have
“...winked and wiggled...” to get help.


        64.     Neither Defendants Huston, Pilarski, Chichwak, or Baker, ever took steps to
investiagte, remedy or prevent the pervasive and sometimes severe conditions which were hostile
to women of which conditions they were aware and concerning individuals over whom they had
supervisor authority; in fact, these Defendants individually and in concert purposely, personally
participated in the creation and maintenance of the hostile environment.


        65.      The Defendants herein have acted with reckless or callous disregard of, or
indifference to the rights and safety of Plaintiff Kelly Vay and other female forensic investigators.


                                           Injuries To Plaintiff

        66.     As a direct and proximate result of the above actions, Plaintiff suffered the following

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injuries:

                a) emotional distress;

                b) humiliation;

                c) damage to professional reputation and advancement;

                d) interference with her immediate and extended family relationships;

                d) loss of wages and benefits.



                                            Count One
                                   Kelly Vay v Robert Huston
                             Equal Protection: Gender Discrimination


          67.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 66 as if fully set forth
herein.

          68.   The Defendant Robert Huston, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others
within his supervisory authority to cause her to be suspended In August 2013 and in December 2013
or acquiesed in the conduct of his subordinates about which conduct he had actual knowledge and
which conduct caused her to be suspended, as set forth herein, and otherwise caused her, in the
manner aforementioned, to be treated differently than male employees in the terms and conditions
of her employment because of her gender, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution.


                                            Count Two
                                   Kelly Vay v Robert Huston
                             Equal Protection: Gender Discrimination
                                   Hostile Work Environment.


          69.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 68 as if fully set forth

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herein.

          70.   The Defendant Robert Huston, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or failed to investigate,
remedy and prevent conduct (by those within his supervisory authority and about whose conduct he
had actual knowledge) causing a work environment hostile to women, all of which is in violation
of her rights under the Equal Protection Clause of the Fourteenth Amendment to the U.S.
Constitution.


                                            Count Three
                                   Kelly Vay v Robert Huston
                             Equal Protection: Gender Discrimination
                                            Retaliation


          71.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 70 as if fully set forth
herein.

          72.   The Defendant Robert Huston, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others
within his supervisory authority to retaliate against Vay or acquiesed in the conduct of his
subordinates about which conduct he had actual knowledge and which conduct caused Vay to be
retaliated against, or caused others, who defended or assisted Vay in her efforts opposing
discrimination, to be retaliated against, as set forth herein, and otherwise caused Vay and other
women, in the manner aforementioned, to be treated differently than male employees in the terms
and conditions of her employment because Plaintiff Kelly Vay participated in investigations of and
opposed discrimination against women, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution


                       Requested Relief From Defendant Robert Huston

          73.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 72 as if fully set forth
herein.
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    WHEREFORE, Plaintiff demands judgment against the Defendant Robert Huston for violation
of Vay’s Fourteenth Amendment Rights under the U.S. Constitution to Equal Protection and asks
judgment against the Defendant Robert Huston for violation of Vay’s Fourteenth Amendment
Rights under the U.S. Constitution to Equal Protection because he retaliated against Plaintiff Vay
because she opposed violations of her Equal Protection Rights and the rights of other women, and
Plaintiff asks the Court to award damages for back pay, front pay, lost benefits, compensatory
damages for damage to her reputation and compensatory damages for emotional distress in an
amount to be proven at trial, and Plaintiff asks the Court to award punitive damages in an amount
to be proven at trial and such other legal or equitable relief as the Court deems just and appropriate.


                                             Count Four
                                     Vay v Stephen Pilarski
                             Equal Protection: Gender Discrimination


          74.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 73 as if fully set forth
herein.

          75.   The Defendant Stephen Pilarski, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others
within his supervisory authority to cause her to be suspended In August 2013 and in December 2013
or acquiesed in the conduct of his subordinates about which conduct he had actual knowledge and
which conduct caused her to be suspended, as set forth herein, and otherwise caused her, in the
manner aforementioned, to be treated differently than male employees in the terms and conditions
of her employment because of her gender, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution.


                                             Count Five
                                     Vay v Stephen Pilarski
                             Equal Protection: Gender Discrimination
                                   Hostile Work Environment

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          76.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 75 as if fully set forth
herein.

          77.   The Defendant , acting under color of law, discriminated against Plaintiff Kelly Vay
when he personally and purposefully participated in and or failed to investigate, remedy and prevent
conduct (by those within his supervisory authority and about whose conduct he had actual
knowledge) causing a work environment hostile to women, all of which is in violation of her rights
under the Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution.


                                             Count Six
                                    Kelly Vay v Stephen Pilarski
                              Equal Protection: Gender Discrimination
                                             Retaliation
          78.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 77 as if fully set forth
herein.

          79.   The Defendant Stephen Pilarski, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others
within his supervisory authority to retaliate against Vay or acquiesed in the conduct of his
subordinates about which conduct he had actual knowledge and which conduct caused Vay to be
retaliated against, or caused others, who defended or assisted Vay in her efforts opposing
discrimination, to be retaliated against, as set forth herein, and otherwise caused Vay and other
women, in the manner aforementioned, to be treated differently than male employees in the terms
and conditions of her employment because Plaintiff Kelly Vay participated in investigations of and
opposed discrimination against women, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution.


                      Requested Relief From Defendant Stephen Pilarski

          80.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 79 as if fully set forth
herein.

      WHEREFORE, Plaintiff demands judgment against the Defendant Stephen Pilarski for
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violation of Vay’s Fourteenth Amendment Rights under the U.S. Constitution to Equal
Protection and asks judgment against the Defendant Stephen Pilarski for violation of Vay’s
Fourteenth Amendment Rights under the U.S. Constitution to Equal Protection because he
retaliated against Plaintiff Vay because she opposed violations of her Equal Protection Rights
and the rights of other women, and Plaintiff asks the Court to award damages for back pay, front
pay, lost benefits, compensatory damages for damage to her reputation and compensatory
damages for emotional distress in an amount to be proven at trial, and Plaintiff asks the Court to
award punitive damages in an amount to be proven at trial and such other legal or equitable
relief as the Court deems just and appropriate.

                                            Count Seven
                                     Kelly Vay v Michael Baker
                             Equal Protection: Gender Discrimination


          81.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 80 as if fully set forth
herein.

          82.   The Defendant, Michael Baker, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others
within his supervisory authority to cause her to be suspended In August 2013 and in December 2013
or acquiesed in the conduct of his subordinates about which conduct he had actual knowledge and
which conduct caused her to be suspended, as set forth herein, and otherwise caused her, in the
manner aforementioned, to be treated differently than male employees in the terms and conditions
of her employment because of her gender, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution.

                                             Count Eight
                                      Vay v Michael Baker
                             Equal Protection: Gender Discrimination
                                   Hostile Work Environment


          83.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 82 as if fully set forth
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herein.

          84.   The Defendant Michael Baker, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or failed to investigate,
remedy and prevent conduct (by those within his supervisory authority and about whose conduct he
had actual knowledge) causing a work environment hostile to women, all of which is in violation
of her rights under the Equal Protection Clause of the Fourteenth Amendment to the U.S.
Constitution.

                                           Count Nine
                                      Vay v. Michael Baker
                         Equal Protection Clause: Gender Discrimination
                                           Retaliation

          85.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 84 as if fully set forth
herein.

          86.   The Defendant Michael Baker, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others
within his supervisory authority to retaliate against Vay or acquiesed in the conduct of his
subordinates about which conduct he had actual knowledge and which conduct caused Vay to be
retaliated against, or caused others, who defended or assisted Vay in her efforts opposing
discrimination, to be retaliated against, as set forth herein, and otherwise caused Vay and other
women, in the manner aforementioned, to be treated differently than male employees in the terms
and conditions of her employment because Plaintiff Kelly Vay participated in investigations of and
opposed discrimination against women, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution.



                       Requested Relief From Defendant Michael Baker

          87.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 86 as if fully set forth
herein.

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           WHEREFORE, Plaintiff demands judgment against the Defendant Michael Baker for
violation of Vay’s Fourteenth Amendment Rights under the U.S. Constitution to Equal Protection
and asks judgment against the Defendant f Michael Baker for violation of Vay’s Fourteenth
Amendment Rights under the U.S. Constitution to Equal Protection because he retaliated against
Plaintiff Vay because she opposed violations of her Equal Protection Rights and the rights of other
women, and Plaintiff asks the Court to award damages for back pay, front pay, lost benefits,
compensatory damages for damage to her reputation and compensatory damages for emotional
distress in an amount to be proven at trial, and Plaintiff asks the Court to award punitive damages
in an amount to be proven at trial and such other legal or equitable relief as the Court deems just and
appropriate.


                                             Count Ten
                                  Kelly Vay v. Michael Chichwak
                             Equal Protection: Gender Discrimiantion


          88.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 87 as if fully set forth
herein.

          89.   The Defendant Michael Chichwak, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others

within his supervisory authority to cause her to be suspended In August 2013 and in December 2013
or acquiesed in the conduct of his subordinates about which conduct he had actual knowledge and
which conduct caused her to be suspended, as set forth herein, and otherwise caused her, in the
manner aforementioned, to be treated differently than male employees in the terms and conditions
of her employment because of her gender, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution.

                                            Count Eleven
                                Kelly Vay v. Michael Chichwak
                             Equal Protection: Gender Discrimiantion
                                   Hostile Work Environment

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          90.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 89 as if fully set forth
herein.

          91.   The Defendant Michael Chichwak, acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or failed to investigate,
remedy and prevent conduct (by those within his supervisory authority and about whose conduct he
had actual knowledge) causing a work environment hostile to women, all of which is in violation
of her rights under the Equal Protection Clause of the Fourteenth Amendment to the U.S.
Constitution.

                                           Count Twelve
                                 Kelly Vay v Michael Chichwak
                             Equal Protection: Gender Discrimiantion
                                            Retaliation

          92.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 91 as if fully set forth
herein.

          93.   The Defendant Michael Chichwak acting under color of law, discriminated against
Plaintiff Kelly Vay when he personally and purposefully participated in and or either directed others
within his supervisory authority to retaliate against Vay or acquiesed in the conduct of his
subordinates about which conduct he had actual knowledge and which conduct caused Vay to be
retaliated against, or caused others, who defended or assisted Vay in her efforts opposing
discrimination, to be retaliated against, as set forth herein, and otherwise caused Vay and other
women, in the manner aforementioned, to be treated differently than male employees in the terms
and conditions of her employment because Plaintiff Kelly Vay participated in investigations of and
opposed discrimination against women, all of which violates her rights under the Equal Protection
Clause of the Fourteenth Amendment to the U.S. Constitution.

                     Requested Relief From Defendant Michael Chichwak

          94.   Plaintiff incorporates the matters pleaded at ¶¶ 1 through 93 as if fully set forth
herein.

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       WHEREFORE, Plaintiff demands judgment against the Defendant Michael Chichwak for
violation of Vay’s Fourteenth Amendment Rights under the U.S. Constitution to Equal Protection
and asks judgment against the Defendant Michael Chichwak for violation of Vay’s Fourteenth
Amendment Rights under the U.S. Constitution to Equal Protection because he retaliated against
Plaintiff Vay because she opposed violations of her Equal Protection Rights and the rights of other
women, and Plaintiff asks the Court to award damages for back pay, front pay, lost benefits,
compensatory damages for damage to her reputation and compensatory damages for emotional
distress in an amount to be proven at trial, and Plaintiff asks the Court to award punitive damages
in an amount to be proven at trial and such other legal or equitable relief as the Court deems just and
appropriate.




Respectfully submitted,

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